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Assignment of Copyright and n Law Copyri ights

Whereas, Fraserside Holdings Limited (Assignor), a corporation organized under the laws of Cyprus,
located and doing business at Office 1002, 10“ Floor, Nicolaou Pentadromos Centre, Thessafonikis
Street, 3025 Limassol, Cyprus, Is the owner of the following U.S. Copyrights, listed below, are registered
In the United States (collectively the “Copyrights"};

Whereas, Fraserside IP LLC (Assignee), 2 Limited Liability Company organized under the laws of the State
of lowa, doing business at 837 Central Avenue, Northwood, towa, Is wholly owned by Fraserside
Holdings Limited; and

Whereas Fraserside Holdings Limited, desires to transfer and FraserSide IP LLC desires to acquire ali of
Assignor’s rights in and to the United States Copyrights, common law copyrights and the goodwill
symbolized thereby;

NOW THEREFORE, fer good and valuable consideration, the recelpt and sufficiency of which are hereby
acknowledged, Assignor hereby sells, assigns, transfers and conveys to Assignee all of Its right, title, and
interest In and to the Copyrights, together with the goodwill of the business assoclated with the
Copyrights, the same to be held and enjoyed by Assignee, its successors, assigns, and other legal
representatives,

Assignor further assigns ta Assignee all right to sue for and receive all damages accruing from past
infringements of the Copyrights herein assigned.

Assignor represents It Is the legal owner of all right, title and interest in and to the Copyrights and has
the right to assign the Copyrights and that there are no pending legal proceedings impairing the
transferability of the Copyrights.

These Assignments shall be binding upon the partles, their successors and/or assigns, and all others
acting by, through, with or under their direction, and al those In privity therewith,

The parties agree to take any further action and execute any documents required to effect the purposes
of this Assignment,

Fraserside Holdings Limited FraserSide iP LLC

Ren,

BY: ( > BY:
VY

Suzanne Kalogreades és Moran
Title: Dlrector Title: Authorized signer
‘ ‘ ba
Dated: 08.11.10 Dated: O Noserter adLO

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A Taste of Pleasure

Anal Freedom

Anal Lolitas

ALL YOU NEED IS SEX

ANAL FREEDOM

ANAL LOLITAS

ANAL MERMAIDS

ART CORE

BEAUTIES IN THE TROPIX
BILLIGNAIRE

CANMES

CARIBBEAN DREAM.
CARIBBEAN VACATION
CLEOPATRA

COMING OF AGE
DANGEROUS CURVES
DANGEROUS THINGS
DANGEROUS THINGS 2
DOMINATRIX CHESS GAMBIT
FATAL ORCHID 2

FORBIDDEN GAMES

FROM BEHIND 15 OK

GIRLS OF DESIRE

GLADIATOR

GLADIATOR II - IN THE CITY OF LUST
GLADIATOR Ii - SEXUAL CONQUEST
GUNS AND ROUGH SEX

HOUSE OF LOVE

Regal

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PAQODIE74266
PAQOO1670894
PANO01670900
PAQDOLE7A266
PANOOLE70894
PADOO1670905
PADOO1674499
PAQOOLE 74265

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PAQOOLE 70859
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PAQOO1670896
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Holder (Claimelnt / Author}
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IBIZA SEX PARTY 5S PA0001674244 Fraserside Holdings Limited
LADY OF THE RINGS PA0001673381 Fraserside Holdings Limited
LUST TREASURES NOS PA001674243 Fraserside Holdings Limited
LUST TREASURES NO 8 PAG001674247 Fraserside Holdings Limited
LUST TREASURES NOS PADOO1674248 Fraserside Holdings Umited
MILUIONAIRE PA0O01674271 Fraserside Holdings Limited
MILLIONAIRE II PA0001674272 Fraserside Holdings Limited

OPEN INVITATION: A REAL SWINGERS PARTY

IN SAN FRANCISCO PAN001689245 Fraserside Holdings Limited
OPEN LEGS OPEN MINDS Fraserside Holdings Limited
PAINTBALL WARRIORS . PAGOOLE 75815 Fraserside Holdings Limited
PARADISE ISLAND PAQOOLG 77513 Fraserside Holdings Limited
PIRATE FETISH MACHINE - THE FETISH GARDEN PAC001674498 Fraserside Holdings Limited
PORN WARS

PORNOLYMPICS. PAROOIE70614 Fraserside Holdings United
PRIVATE CASTINGS

PRIVATE CASTINGS - AMAZING SCREAMS &

PRIVATE CASTINGS 35

PRIVATE CASTINGS 64

PRIVATE LIFE OF ANGELIKA PADOOLE90103 fraserside Holdings Limited
PRIVATE LIFE OF JENNIFER LOVE VOL 2 PAG001690202 Fraserside Holdings Limited
PRIVATE LIFE OF MANDY BRISHT PA0001690101 Fraserside Holdings Limited
PRIVATE STORIES 44 - SEX DREAM PAOODLEB2800 Fraserside Holdings Umited
PRIVATE STORIES 15 - FOREST NYMPH PAGDD1674483 Fraserskte Holdings Umited
PRIVATE STORIES 3 PA0000792706

PRIVATE STORIES 4 PAN000792717

PRIVATE STORIES 5 " PAQ000792708

PRIVATE STORIES 6 PAN000792715

PRIVATE STORIES 9 - BLUE GIRLS PAQ001674476 Fraserside Holdings Limited

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PRIVATE STORY OF BOBB) EDEN
PRIVATE STORY OF SARAH O'NEAL
PSYCHOPORN

SEX & REVENGE

SEX & REVENGE 2

SEX REBELS

SEX THRILLER

SEX, LIES & INTERNET

SEX, LUST & VIDEO-TAPES (PRIVATE XXX)
SEXY BUSINESS

SPREAD MY LIPS

TASTE OF PLEASURE

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THE SEX BUS

TOP SEX

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TROPICAL TWINS

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PAGO02673407
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PAQ001672445
PAQIO1670902
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TWO COCKS IN THE SAME HOLE (PRIVATE SPECIAL EDITION 17} PAQNOOS90714

WHAT WET BITCHES)

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WITHOUT LIMITS 2

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PA0003674270

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XOX NO 11- HIGH LEVEL SEX PA0001674495 Frasarside Holdings Limited
XXX NO 15 PADOOLE74474 Fraserside Holdings Limited
XXX NO 17 - SEX KITTENS PAQ0O1674457 Fraserside Holdings ttmited
YOUR THME 1S UP PAD001674269 Frasersida Hotdings Umited

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